       Case 1-18-01004-nhl            Doc 11       Filed 04/03/18   Entered 04/03/18 14:43:39



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                                  Chapter 7

        84 ELTON LLC,                                                   Case No.: 18-40038-nhl

                                    Debtor.
----------------------------------------------------------------x
THE ESTATE OF RAFAEL RODRIGUEZ,                                         Adv. Pro. No. 18-1004-nhl
GEORGE RODRIGUEZ, and
PULASKI STREET CORP.,

                                   Plaintiffs,

-against-

KONITZ I INC.; SHABSI PFEIFFER, individually,
and in his capacity as an officer of Konitz I Inc.;
RODRIGUEZ 319 & 321 CORP.; NAZRUL ISLAM,
individually and in his capacity as an officer of
Rodriguez 319 & 321 Corp.; 84 ELTON LLC;
B & H ASSOCIATES GROUP LLC; and
BERNARD NIEDERMAN, individually and as a
member of 84 Elton LLC and a member of
B & H Associates Group LLC,

                                    Defendants.
----------------------------------------------------------------x

                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK                  )
                                   ) ss:
COUNTY OF SUFFOLK                  )

        AVRUM J. ROSEN, being duly sworn, deposes and says:

     Deponent is not a party to this action, is over 18 years of age and resides at Centerport,
New York;

          On the 3rd day of April, 2018 deponent served the NOTICE and DEBTOR’S MOTION
SEEKING SUMMARY JUDGMENT PURSUANT TO RULE 7056 OF THE FEDERAL
RULES OF BANKRUPTCY PROCEDURE, upon the attorneys/parties listed on the annexed
list at the addresses listed, said addresses designated for that purpose, by depositing a true copy of
same enclosed in a postpaid, properly addressed wrapper in an official depository under the
exclusive care and custody of the United States Postal Service within the State of New York by
First Class Mail:
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See attached list

                                                       /s/ Avrum J. Rosen
                                                       Avrum J. Rosen
Sworn to before me this
3rd day of April, 2018

s/ Scott T. Dillon
SCOTT T. DILLON
Notary Public, State of New York
No. 02D16152101
Qualified in Suffolk County
Commission Expires October 22, 2018
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Estate of Rafael Rodriguez                             Estate of Rafael Rodriguez
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North Port, FL 34288-7340                              Brooklyn, NY 11206-7206




George Rodriguez                                       George Rodriguez
4341 Fairlane Drive                                    383 Pulaski Street
North Port, FL 34288-7340                              Brooklyn, NY 11206-7244




Internal Revenue Service                               Internal Revenue Service
c/o United States Attorney                             Centralized Insolvency
Eastern District of NY                                 PO Box 7346
271 Cadman Plaza, FL. 7                                Philadelphia, PA 19101-7346
Brooklyn, NY 11201-1820


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Nazrul Islam                                                NYC Department of Finance
127-21 Liberty Avenue                                       TP&P Division
S. Richmond Hill, NY 11419-2215                             Bankruptcy Unit
                                                            345 Adams Street, FL. 5
                                                            Brooklyn, NY 11201-3719


NYC Department of Finance                                   NYC Department of Finance
Tax, Audit and Enforcement Division                         One Centre Street, Room 2435
Attn: Bankruptcy Unit                                       New York, NY 10007-1601
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Brooklyn, New York 11201-3719


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NYS Department of Taxation & Finance                        NYCTL 1998-2 Trust and The Bank of NY Mellon
Bankruptcy Procedures                                       c/o MTAG Services, LLC
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Office of the United States Trustee                         Polo Group LLC
US Federal Office Building                                  770 Middle Neck Road, Suite 7P
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84 Elton LLC
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